                         IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                   WESTERN DIVISION

 JASON WILLIAMS ,

        Plaintiff,

 vs.
                                                      Case No. 5:19-cv-00475-BO
 AT&T MOBILITY LLC,

        Defendant.



              ORDER GRANTING AT&T MOBILITY LLC'S
MOTION FOR LEAVE TO FILE AMENDED ANSWER & AFFIRMATIVE DEFENSES

       Currently before the Court is Defendant AT&T Mobility LLC ' s Motion for Leave to File

Amended Answer & Affirmative Defenses [Dkt 75] (the "Motion"). Upon review of the Motion,

the Court, in exercise of its discretion and pursuant to Federal Rule of Civil Procedure 15 and

Local Rule 15.1 , hereby GRANTS the Motion. It is hereby

       ORDERED tijat Defendant AT&T Mobility. LLC ' s First Amended Answer & Affirmative
                     '                            .
Defenses [Dkt 75-1] shall be deemed filed upon entry of this Order.

       IT IS SO ORDERED.

       Dated:    a~ <T,..,.               _,2021




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